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      Counsel for Warren C. Woo and
 10    Forecheck Investments, LLC

 11                             UNITED STATES BANKRUPTCY COURT

 12                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

 13                                      SAN FRANCISCO DIVISION

 14   In re:                                                         Case No. 08-31001 TEC

 15   BDB MANAGEMENT, LLC,                                           Chapter 11

 16                        Debtor                                    Notice of Withdrawal of Notices of
                                                                     Appearance and Requests for Notice
 17                                                                  and Service of Papers

 18
 19            PLEASE TAKE NOTICE that Skadden, Arps, Slate, Meagher & Flom LLP hereby

 20 withdraws its Notices of Appearance and Requests for Notice and Service of Papers on behalf of
 21 Warren C. Woo and Forecheck Investments, LLC in the above-captioned bankruptcy case.
 22 Dated: July 3, 2008
                                              SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 23
                                              Jay M. Goffman
 24                                           Four Times Square
                                              New York, New York 10036
 25                                           Telephone: 212-735-3000
                                              Facsimile: 212-735-2000
 26
                                              - and -
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 28
                                                             1
                          Notice of Withdrawal of Notices of Appearance and Requests for Notice and
                            Service of Papers by Warren C. Woo and Forecheck Investments, LLC



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  1                                      SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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